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                                         7341
                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
KCB/KTF/NCG/SMF                                     271 Cadman Plaza East
F. #2018R001401                                     Brooklyn, New York 11201



                                                    June 5, 2025

By ECF

The Honorable Diane Gujarati
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Nicole Daedone
                       Criminal Docket No. 23-146 (DG)

Dear Judge Gujarati:

               The government writes with respect to forfeiture in the above-captioned matter.
See Indictment ¶¶ 13-14. In connection with this case, the government seized two specific
assets from defendant Nicole Daedone: (1) a Fidelity bank account ending in -9265 and (2) a
Fidelity bank account ending in -9298 (collectively, the “Seized Assets”).

               Pursuant to Federal Rule of Criminal Procedure 32.2(b)(5), because the
government is seeking to forfeit specific property, “the [C]ourt must determine before the jury
begins deliberating whether either party requests that the jury be retained to determine” the
Seized Assets forfeitability “if [the jury] returns a guilty verdict.” The government would
consent to Your Honor determining the Seized Assets’ forfeitability; however, counsel for
defendant Nicole Daedone has not yet advised the government whether Ms. Daedone will seek a
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jury determination with respect to the assets’ forfeitability in the event of a conviction of either
defendant. 1 See Fed. R. Crim. P. 32.2(b)(5). 2

              Accordingly, enclosed for the Court’s consideration are proposed jury instructions
and a proposed special verdict form in the event that we must proceed to the forfeiture phase of
the case.

                                                       Respectfully submitted,

                                                       JOSEPH NOCELLA, JR.
                                                       United States Attorney

                                               By:        /s/
                                                       Kayla C. Bensing
                                                       Kaitlin T. Farrell
                                                       Nina C. Gupta
                                                       Sean M. Fern
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                                                       (718) 254-6195


cc:    Jennifer Bonjean, Esq. (counsel to defendant Nicole Daedone)
       Michael Robotti, Esq. and Celia Cohen, Esq. (counsel to defendant Rachel Cherwitz)




       1
               Since this case charges a conspiracy and the seized funds are proceeds that arose
from the sale of OneTaste, the government respectfully requests that the jury be asked to
determine the nexus of the property to the crime with respect to both defendants. However,
because the seized assets were never property of Ms. Cherwitz, she does not have standing to
object or consent to the Court’s determination of their forfeitability.
       2
                The government reserves the right to seek a forfeiture money judgment from the
Court for the full amount of proceeds from the charged crimes.



                                                  2
